UNITED STATES BANKRUPTCY COURT

NORTHERN DISTRICT OF OHIO
WESTERN DIVISION
In Re: } Case No. 23-30365
)
Melvin H. Balduf, Jr. ) Hon. John P. Gustafson
xx-9452 ) .
Debtor ) DEBTOR’S AMENDED SCHEDULES

The attachments hereto update the following schedules and forms:

_A x B XC Dp _E _F
_G _H I - J
8 of Schedules and Statistical Summ

Debtors represent that the attached schedules and forms contain full and true statements of facts set
forth therein, as required by the provisions of Title 11 U.S.C. and Bankruptcy Rules relating to the
debtor, and his signature below is his certification that the statements are true and correct.

Pelrar~ MN Boll
Date: 67 /ie/2 BZY - /S/Melvin H. Balduf, Jr. ~

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CERTIFICATION OF SERVICE

I thata copy of this Amendment was sent electronically to the following parties on
sda 7/1 SF (] Z0e$!

Patti Baumgartner-Novak, Trustee 30 1 5 Pnovak@bex.net
Navarre Ave., Suite 203

Oregon, OH 43616

(419) 724-2480

Fax (419) 724-2481

Office of the U.S. Trustee ustp.region09@usdoj.gov
201 Superior Ave. E., Ste 441
Cleveland, OH 44114

(Si Thomas E. Cafferty
~ Thomas E. Cafferty

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Melvin H. Balduf Jr.

Debtor 1
First Name Middia Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptey Court for the: Northern District of Chio

Case number _ 23-30365 Check if this is an
(if known) ‘umended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information . 1245

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fiil out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

ja. Copy line 55, Total real estate, from SCh@Qule A/B........c.ccccccccssscssessessessessessscereesesssnesssnesecsssassssseesesvees seisseesvasenessesseeets $0.00
1b. Copy line 62, Total personal property, from Schedule A/B L000 ccececece cess eseeeeeeee cessstumsssaseessasastunsasessssessnssee $97,704.95
1c. Copy line 63, Total of all property on Sche@dtle ALB oc. ccc cccsceecceeeessneenetece cessneeeseeensemeneesssseesaseeeeneeneaeseseeaneeesneess $97,704.95

Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $24,625.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 0.00

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F wi... ee cece eeeeecseeeeeeees $e

3b. Copy the total claims from Part 2 (nonpriarity unsecured claims} from line 6j of Schedui@ EYP... cece eens eeteees + §25,697.00 ,

Your total liabilities $50,322.00
Summarize Your Income and Expenses

4. Schedule f: Your Income (Official Farm 1061}

Copy your combined monthly income from line 12 of Schedule fee tescescesneeteteeteteceenene nee eesindadearesosereseeeeeeanentistite $6,700.00
5. Schedule J: Your Expenses (Official Form 106)

Copy your monthly expenses from line 220 of Schedule Ss csssccsecssesssnensescesceceeeeceeeeeecsssceenpsaascssaeeesaseesaneseeasanaesseseenene $6,723.30
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1of2

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Melvin Balduf Jr. . 23-30365

Debtar 1 Case number (it known)

First Name Middle Name Last Name

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137?

Fl Yes

LJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

7. What kind of debt do you have?

this form to the court with your other schedules.

Your debts are primarily consumer debts, Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 2B U.S.C. § 169.

(C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form..Check this box and submit

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official

Form 1224-1 Line 11; OR, Form 122B Line 11; OR, Farm 122C-1 Line 14. $ 1,600.00
9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-:
a 0.00
9a. Domestic support obligations (Copy line 6a.) . $
a . 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $
, a 0.00
9c. Claims for death or personai injury while you were intoxicated. (Copy line 6c.) $
0.00
9d. Student loans. (Copy line 6f.) $
$e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g-.}
, , . os . 0.06
$f. Debts te pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +4
9g. Total. Add lines 9a through 9f. ‘ $ 0.00
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information — page 2 of 2

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Melvin H. Balduf Jr,

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Northern District of

Ohio

28 Check if this is
Case number 23-30365 an amended
(if know)

filing

Official Form 106A/B
Schedule A/B: Property : 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known}. Answer every question.

Ean Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1, Do you own or have any legal or equitab/e interest in any residence, building, land, or similar property?
No. Go to Part 2
FD Yes. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CJ No
Yes
‘3.1 Make:Ram Who has an interest in the property? Check
Model:500 one

Debtor 1 only
(0 Debtor 2 only

Year: 2011
Approximate mileage: 168000

Current value of the Current value of the

Other information: C Cebtor 1 and Debtor 2 only ' entire property? Portion you own?
Condition-Good: (3 Atleast one of the debtors and another $ 12,000.00 $ 12,000.00
(2 Check if this is community property (see :
instructions}

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

0) Ne
Yes
4.1 Make:Utility Trailer Who has an interest in the property? Check
"Model: , ane
Year: 2022 Debtor 1 only : aS oy Hees pee os
Other information: — CJ Debtor 2 only Current value ofthe Current value of the
Condition:Gaod: C) Debtor 1 and Debtor 2 only entire property? portion you own?
J At least one of the debtors and another $ 3,878.95 $ 3,878.95

(J Check if this is community property (see
instructions)

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Debtor 1 Maivin H. Balduf Jr. Case number(if known) 23-30365

First Name Middle Name Last Name
4.2 Make:Holiday Who has an interest in the property? Check
Model:Camper one
Year: 1984 Debtor 2 only

{7) Debtor 2 only

Other. information: Current value of the Current value of the

Condition:Fair; {) Debtor 1. and Debtor 2 anly entire property? portion you ewn?
Q At least one of the debtors and another § 2,500.00 $ 2,500.00
0) Check if this is community property (see
instructions) . :
4.3 Make:Portable Utility Building Who has an interest in the property? Check
Model:(unk) one ,

Debtor 1 only

Year: 2022 Debtor 2 ont eae nee ee
Other information: Q Debtor 2 only Current value of the Current value of the

(ease. See Schedule G. LJ Debtor 1 and Debtor 2 oniy entire property? portion you own?
(7) At least one of the debtors and another $ 3,600.00 $ 0.00
DD Check if this is community property (see
instructions)

Add the doilar value of the portion you own for all of your entries from Part 2, including any entries for pages
5. you have attached for Part 2. Write that number here. >» $18,378.95
Describe Your Personal and Household Items

6. Household goods and furnishings

Examples: Major appliances, furniture, linens, china, kitchenware

LJ Ne

Yes. Describe...

misc. household goods
§ 1,000.00

7. Electronics

Examples: Televisions and radios, audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

Ono

Yes. Describe...

Cell phone / TV
$ 1,000.00

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects:
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No
(D Yes. Describe...
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

No
CD Yes. Describe...
10. Firearms
Exampies: Pistols, rifles, shotguns, ammunition, and related equipment

(J No

Yes. Describe...

Pistol
$ 300.00

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Debtor 1 Metvin H. Balduf Jr. Case number(if known) 93-30365

First Name Middle Name Last Name

11. Clothes
Exampies: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

OJ No

Yes. Describe...

Misc, Clothing
$ 500.00.

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
gold, silver :

No
(1 Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

O No

Yes. Describe...

1 dog
$ 1.00

14. Any other personal and household items you did not already list, including any health aids you did not tist

No
DC Yes. Give specific information...

15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
you have attached for Part 3. Write that number here » $2,807.00

Pieces Describe Your Financial Assets

16. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

No -

(DY VOS ooo eec cc esececcsseueeseceseneesessecensaeecssnauecersseunuesessnusterevanvessauaessenesssusessantesssusessanaesaseesasssasenssssmessansee CASH essen
17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses

and other similar institutions. If you have multiple accounts with the same institution, list each.

(No

Yes Institution name:

17.1. Checking account: . Chime $ 1,000.00

47.2. Checking account: Chime Credit Builder $ 509.00.

17.3. Savings account: Chime . $ 25.00
18. Bonds, mutual funds, or publicly traded stocks

. Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No

LDV eS.-ceretceeees
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

No

CO Yes. Give specific information about them...........

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Debtor 3 Meivin H. Balduf Jr, Case number(if Known) 23-30365

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiabie instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
(J Yes. Give specific information about them..........
21. Retirement or pension accounts
Examples: interests in IRA, ERISA, Keogh, 401{k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No ,
(D Yes. List each account separately

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

23. Annuities (A contract for a periodic payment of money to ycu, either for life or for a number of years)

No
D ves........
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition

program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

(Dy VES... eee

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No
CD) Yes. Give specific information about them...
26, Patents, copyrights, trademarks, trade secrets, and other intellectual property

Examples: Internet domain names, websites, proceeds from-royalties and licensing agreements
No
C Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles

Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
(D Yes. Give specific information about them

28. Tax refunds owed to you

No
( Yes. Give specific information about them, including whether you already filed the returns and the tax years...

Federal: § 0.00
State: $ 0.00
Local: $ 0.00

29. Family support
Examples: Past due of lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No ,
CO Yes. Give specific information...
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

(¥] No

C) Yes. Give specific information...

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Debtor 1 Melvin H, Balduf Jr, ' Case number(if known) 73-30365

First Name Middle Name Last Name

31. Interests in insurance policies
(J No
Yes. Name the insurance company of each policy and list its value...

Company name: Beneficiary: Surrender or
refund vaiue:

Term Life Insurance Spouse ‘ $ 0.00

32. Any interest in property that is due you from someone who has died

(¥] No

OC Yes. Give specific information.....

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment

[¥) No

CO Yes. Give specific information...

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
off claims

(J No

Yes. Give specific information...

Personal injury Cause of Action against Aaron's LLC
$ 75,000.00

35. Any financial assets you did not already list

[¥] No

(CD Yes. Give specific information...

36, Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for p pages
you have attached for Part 4. Write that number here » $76,525.00

fr Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 4.

37. Do you own or have any legal or equitable interest in any business-related property?

No. Go to Part 6.
(0 Yes..Go ta line 38.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
[you own or have an interest in farmland, list it in Part 1. .

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

[¥) No, Go to Part 7,
OO Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

No
( Yes. Give specific
information...
54. Add the dollar value of ail of your entries from Part 7. Write that number Were ......—-.cscsseussssseseneesssseeaee » ¢
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Debtor 1 Melvin H, Baldut Jr.

Arst Name Middle Name Last Name

Case number(if known) 23-30365

er List the Totals of Each Part of this Form
55. Part 1: Total tate, tine 2 »
a otal real estate, line $0.00
56. Part 2: Total vehicles, line 5 $ 18,378.95
57. Part 3: Total personal and household items, fine 15 $ 2,801.00
58. Part 4: Total financial assets, line 36 $ 76,525.00
59. Part 5: Total business-related property, line 45 $ 0.00
60, Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 + $ 0.00
62. Total personal property. Add lines 56 through 61... vee $ 97,704.95 Copy personal property total» +$
— 97,704.95
63. Total of all property on Schedule A/B. Add line 55 + line 62 $ 97,704.95
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Melvin H. Baldut Jr.

Debtor 1

First Name Middie Name Last Name
Debtor 2
(Spouse, If fillng) First Name * Middla Nama Last Name

United States Bankruptcy Court for the: Northern District of Ghia

Case number _28-80365

{If known}

Da Check if this is an

amended filing

Official Form 106C

Schedule C: The Property You Claim as Exempt

4i22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your saurce, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write

your name and case number (if known).

For each item of property you claim as exernpt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—imay be unlimited in dollar amount: However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

would be limited to the applicable statutory amount.

ian Identify the Property You Claim as Exempt

Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

LJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief oliday Camper ~ 2329.66(A)(18)
rie’
description: g2500.00 [1s 1475.00
CI 160% of fair market vaiue, up to
Line from any applicable statutory limit
Schedule AB! 42000.
Brief Househnoid Goods - misc. household goods 2329,66(A) (4)(a)
i! . :
description: $1,000.00 Le}g *.000.00
{J 100% of fair market value, up to
-Line from any appiicabie statutory limit
Schedule AYB: 6
. Electronics - Cell phone / TV 2329.66(A)(4}{a)
Brief 1,000.00 1,000.06
description: gi [4g 1.000.
: oO 100% of fair market value, up to
. Line from any applicable statutory limit

Schedule A/B: 7

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

[1 No

oO Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

Cc No
FE) Yes

Official Form 106C

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Schedule C: The Property You Claim as Exempt

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Melvin H. Balduf Jr.

Debior

Firat Name Middia Name

Additional Page

! Biiet

Case aurmber (if known) 23-30365

Last Name

3329. G6(A)(4)(a)

' description: g 900.00 g 300.00
‘Line ¢ [J 100% of fair market value, up to
. Schedule AB: 16 any applicable statutory limit
Brief Clothing - Mise. Clothing , 2929.66(A){4}(a}
description: $500.00 3 500.00 .
[100% of fair market value, up te
Line frony any applicable statutory limit
Schedule AB: 11
Brief Chime (Checking Account) 2329.86(A}{3)
description: $1,000.00 ¢ 550.00
oO 100% of fair market value, up to
Line from any applicable statutory limit
sachedule AB. VEN cee ca eee eee ee _ oases so pn es pag con
Brief Personal Injury Cause of Action against Aaron's LLG 2329. 66(A}{12}(c)
description: O39 75,000.00 g 27,950.00
Line f oO 100% of fait market value, up to
; Schedule AB: 94 any applicabie statutory limit
Brief
description: $ Os
i ‘ oO 100% of fair market value, up to
‘Line from any applicable statutory limit
Schedule A/B:
Brief
description: $ C) $
oO 100% of fair market value, up to
Line from any applicable statutory limit
Schedule AS; eentne nets tnsn'e en seninunnnmnnnninnannian ana -
Brief .
description: $ O $
. OC 100% of fair market value, up to
Bene AB: any applicable statutory limit
Brief .
description: $ C] $
| CJ 100% of fair market value, up to
! Line from any applicable statutory limit
Scheduie A/B:,
Brief
description: $ O $
Oo 100% of fair market vaiue, up to
Line fram any applicable statutory limit .
Schedule A/B:
Brief
‘description: $ 0 $
a CI 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: . Le ae
Briet
description: $ C] $
[_] 100% of fair market value, up to
Line from any applicable statutory limit
Schedule AB:
Brief
description: gs CC ee
Ci 100% of fair market value, up to
‘Line from any applicable statutory limit
Schedule AB:

Official Form 106C

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Schedule C: The Property You Claim as Exempt

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